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                              UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA

MILLICENT CRAWFORD                                               CIVIL ACTION

VERSUS                                                           NO. 18 cv 3847

HYATT CORPORATION                                                NJB - DD
ET AL.

                                  NOTICE OF SUBMISSION

PLEASE TAKE NOTICE, the Plaintiff’s Motion for Contempt Under Rule 45(g.) for Failure to

Appear Pursuant to Deposition Subpoena, to Compel Non-party’s Attendance at Deposition,

and For Sanctions is hereby set for submission before the District Judge on the 14th day of

August, 2019 at 10:00 a.m..



                                                   RESPECTFULLY SUBMITTED:

                                                   _/s/ Nicholas S. Lindner_______
                                                   NICHOLAS S. LINDNER (#31841)
                                                   Branden Villavaso (#34805)
                                                   631 Saint Charles Avenue
                                                   New Orleans, LA 70130
                                                   Te: (504) 579-2601
                                                   Fax: (504) 267-2062


                                          Certificate

I, Nicholas S. Lindner, hereby certify that by using the CM/ECF system to electronically file
the foregoing, all counsel of record will be notified of filing on this date, July 22, 2019.
Further, non-party Arieon Burnett has been served pursuant to Rule 5(b)(C) of the Federal
Rules of Civil Procedure, by mailing a copy of the filing and all attachments to her last known
address on this date, postage affixed and addressed to her at 10501 Curran Blvd., Apt. 20C,
New Orleans, LA 70127. Counsel has also sent the filing by certified mail.


                                                   _/s/ Nicholas S. Lindner_______
                                                   NICHOLAS S. LINDNER (#31841)
